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        Attorneys for Plaintiff Radagast Pet Food, Inc.




                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


RADAGAST PET FOOD, INC. an Oregon                            Case No.:
corporation,
              Plaintiff,
                                                             COMPLAINT FOR TRADEMARK
vs.                                                          INFRINGEMENT AND BREACH OF
                                                             CONTRACT
WHITEBRIDGE PET BRANDS, LLC, a
Delaware limited liability company;                          (Federal Trademark Infringement; False
FRONTENAC COMPANY LLC, a Delaware                            Designation of Origin; Breach of Contract)
limited liability company,                                   (Injunctive Relief Sought)

              Defendants.                                    DEMAND FOR JURY TRIAL


                                         INTRODUCTION

              1.      This is an action at law and in equity for trademark infringement, false

designation of origin, and breach of contract stemming from defendants Whitebridge Pet Brands,

LLC (“Whitebridge”) and Frontenac Company LLC (“Frontenac”) coordinated efforts to copy

and/or coopt Radagast Pet Food, Inc. (“Radagast”)’s well-loved Rad Cat® premium raw cat

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food, willfully and knowingly using the Rad Cat® federally registered slogan on the same

goods—after expressly promising to cease—and improperly using Radagast confidential

information to, on information and belief, leverage a buyout of the company when it was most

vulnerable. Whitebridge and Frontenac cannot be allowed to simply bully a smaller company

facing financial woes by forcibly taking over its still-valuable intellectual property.

                                 JURISDICTION AND VENUE

               2.      This Court has subject matter jurisdiction under Section 39 of the Lanham

Act, 15 USC § 1121, and under 28 USC §§ 1331 and 1338. This Court has supplemental

jurisdiction over Radagast’s related state and common-law claims pursuant to 28 USC §§ 1338

and 1367.

               3.      This District is a proper venue pursuant to 28 USC § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Radagast’s claims occurred in this

District, and a substantial part of the harm alleged herein was directed by Whitebridge and

Frontenac to Radagast and felt by Radagast in this District.

               4.      Whitebridge and Frontenac are also alleged to have breached agreements,

described below, providing that “Any litigation relating to this agreement will be tried in the

state or federal courts in Portland, Oregon. Each party submits to jurisdiction of such courts, and

waives any right to change venue.”

                                             THE PARTIES

               5.      Radagast is an Oregon corporation organized and existing under the laws

of the state of Oregon, with its place of business at P.O. Box 14279, Portland, Oregon 97293.




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               6.     On information and belief, Whitebridge is a limited liability company

organized and existing under the laws of the state of Delaware, with its place of business at 1224

Fern Ridge Pkwy # 200, Creve Coeur, Missouri 63141.

               7.     On information and belief, Frontenac is a limited liability company

organized and existing under the laws of the state of Delaware, with its place of business at One

South Wacker Drive, Suite 2980, Chicago, Illinois 60606.

                     FACTS COMMON TO ALL CLAIMS FOR RELIEF

               8.     Radagast is a family-owned and operated company specializing in

manufacturing healthy raw pet food for cats. In particular, Radagast is well-known for its

popular Rad Cat® Raw Diet premium raw cat food sold in tubs.

               9.     Since at least as early as April 11, 2005, Radagast has widely used the

slogan FEED YOUR FELINES LIKE THE CARNIVORES THEY ARE for its raw cat food

products, prominently displaying the mark on marketing materials, point-of-sale displays, the

company website and business cards, and on all product packaging.

               10.    Radagast owns U.S. Trademark Registration No. 4198367 for FEED

YOUR FELINES LIKE THE CARNIVORES THEY ARE in connection with “pet food” (“the

Radagast Carnivore Mark”).

               11.    An example of Radagast’s use of the Radagast Carnivore Mark, from its

website www.radfood.com, is shown below:




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                                              'F'E'E'D YO'll�'FELINES
                                 '111'& THE CA'R.tJIVORES THEY A�.

               12.     Radagast has built up substantial goodwill and reputation with consumers

for the goods it provides under the Radagast Carnivore Mark.

               13.     Whitebridge is in the business of manufacturing natural and minimally

processed food for pets, including cats, under its “Tiki Cat” brand.

               14.     On information and belief, Frontenac is a private equity firm that owns

Whitebridge and handles significant financial transactions for the company.

               15.     In 2015 and 2016, Whitebridge, Frontenac, and Radagast negotiated a

potential asset purchase of Radagast by Whitebridge and Frontenac (“the Transaction”).

Whitebridge’s Tiki Cat product line did not include a raw cat food option.

               16.     On March 2, 2015, prior to initiating the due diligence process, Radagast

asked both Whitebridge and Frontenac to sign the nondisclosure agreements attached hereto as

“Exhibit A” (“the NDA”). The NDA is governed by Oregon law, without regard to principles of

conflicts of law.

               17.     The NDA states that the sole purpose of Radagast’s disclosure of any of

its confidential information to Whitebridge is “evaluating [a] possible business transaction.”



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Whitebridge and Frontenac expressly agreed that they would “not use or disclose Confidential

Information” except for this purpose.

               18.    After the execution of the NDA, Radagast shared volumes of legal,

financial, processing, and operational information, as well as detailed customer and vendor

information. At Whitebridge’s insistence, Radagast also shared its most closely guarded trade

secret: the formulas for its Rad Cat® raw food varieties.

               19.    In late 2015, Whitebridge and Frontenac gained actual knowledge of

Radagast’s trademark assets, including the Radagast Carnivore Mark.

               20.    On or about February 2016, Radagast, Whitebridge, and Frontenac

decided against completing the Transaction and the companies’ negotiations ceased.

               21.    On February 17, 2016, counsel for Radagast e-mailed counsel for

Whitebridge and Frontenac stating that because the Transaction had been terminated, pursuant to

Section 5 of the NDA, they must cease all use of any Radagast confidential information, return

all materials furnished by Radagast that contain confidential information, and “deliver (not

destroy)” any electronic records or other materials containing confidential information,

“including—per the NDA—materials prepared by Whitebridge and/or Frontenac that include or

discuss ‘Confidential Information,’ such as notes, internal memoranda, emails, analyses, etc.”

Radagast further asked that, as required by the NDA, Whitebridge and Frontenac state in writing

under oath that they have complied with Section 5.

               22.    On February 18, 2016, counsel for Whitebridge and Frontenac stated that

all hard copies containing confidential information would be returned to Radagast and all

electronic records would be deleted.



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               23.    On March 3, 2016, Radagast received a box from Whitebridge purportedly

returning all Radagast confidential information in hard copy form. On March 14, 2016,

Whitebridge’s counsel stated, “I confirmed with Joe [Rondinelli of Frontenac] that both he and

Aaron Wit[t of Whitebridge] returned all of their hard copy materials and destroyed any

electronic copies.”

               24.    On or about October 2016, Radagast learned that Whitebridge was using

the slogan FEED YOUR CAT LIKE THE OBLIGATE CARNIVORE SHE IS on packaging for

Whitebridge’s Tiki Cat cat food (“the First Whitebridge Carnivore Slogan”). An example of

Whitebridge’s use of the slogan on “Tiki Cat” cat food packaging is shown below:




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               25.    Radagast’s and Whitebridge’s cat food products are sold in grocery and

pet stores all over the country, including in many of the same stores, and in the same sections of

COMPLAINT FOR TRADEMARK INFRINGEMENT AND BREACH OF CONTRACT - 6


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those stores. The likelihood of consumer confusion between FEED YOUR FELINES LIKE

THE CARNIVORES THEY ARE and FEED YOUR CAT LIKE THE OBLIGATE

CARNIVORE SHE IS was evident.

               26.     On October 31, 2016, Radagast sent a letter to Whitebridge noting the

similarities between the two companies’ slogans, including that they have “the same meaning,

directed to the same groups of consumers, buying the same or similar products in many of the

same stores.” Radagast demanded that Whitebridge cease and desist using the First Whitebridge

Carnivore Slogan or any other phrase confusingly similar to the Radagast Carnivore Mark.

               27.     Following discussion between counsel by telephone and email, on

February 7, 2017, counsel for Whitebridge stated, “Whitebridge has indicated that the packaging

containing the line ‘Feed your cat like the obligate carnivore she is’ will be out of the market

before the end of 2017.”

               28.     Radagast followed up by letter of April 25, 2017, acknowledging and

accepting Whitebridge’s agreement to cease use of Whitebridge’s First Carnivore Tagline, and

informing Whitebridge that it expected to see no use of the tagline after January 1, 2018.

               29.     On October 15, 2018, Radagast publicly announced that the company

would be closing due to economic concerns. Nonetheless, the company still held valuable

intellectual property and other assets, and had every intention of either selling the company’s

assets or finding a way to partner with another company to revitalize Rad Cat®.

               30.     Fewer than thirty minutes after Radagast’s public announcement of its

closure, however, Radagast received a telephone call from its former banker Freddy Rodriguez at

KeyBank. Rodriguez reported that he had just received a voicemail message from Rondinelli of

Frontenac asking about Radagast’s banking situation.

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               31.    Radagast emailed Rondinelli and informed him that Whitebridge and

Frontenac had no right to any financial information about the company, stating, “Do not contact

our bank or any of our associates.”

               32.    The next morning, Radagast received a call from a Loan Workout

Relationship Manager in the KeyBank Asset Recovery Group. She informed Radagast that

Frontenac had reached out to KeyBank’s “Top of House in Cleveland” saying Frontenac had “an

interest in [Radagast’s] assets.” KeyBank thought Frontenac may be a creditor of Radagast.

               33.    Although Radagast gave Rodriguez’s name and contact information to

Whitebridge and Frontenac in 2015 during the due diligence process, Rodriguez moved out of

Oregon shortly after the Transaction was terminated. Radagast had not worked with Rodriguez

at KeyBank for more than two years when Frontenac called him. There is no publicly available

information indicating that Rodriguez had ever been Radagast’s banking contact.

               34.    On information and belief, Whitebridge and Frontenac used Radagast’s

confidential information to contact Radagast’s bank immediately after the public announcement

of the company’s closure, seeking to assume a position as a secured creditor and force a sale of

the company’s assets to Whitebridge and Frontenac.

               35.    On information and belief, Whitebridge and Frontenac have maintained

access to Radagast’s confidential information, despite their representations to the contrary and

the requirements of the NDA.

               36.    In March 2019, at the Global Pet Expo trade show, Whitebridge

announced that it was coming out with its own line of premium raw cat food in tubs.

               37.    In late March 2019, Radagast reviewed Whitebridge’s Tiki Pets website,

https://tikipets.com/cat/, and discovered that Whitebridge’s use of the slogan FEED YOUR CAT

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LIKE THE CARNIVORE SHE IS (“Whitebridge’s Second Carnivore Tagline”). This time,

Whitebridge dropped the word “obligate,” making the slogan even more similar to Radagast’s

FEED YOUR FELINES LIKE THE CARNIVORES THEY ARE.

               38.     An example of Whitebridge’s Second Carnivore tagline on its website is

shown below:




               39.     Radagast has engaged in negotiations with several companies for the

purchase of its remaining assets, including its intellectual property. Such intellectual property

includes, among other things, its trademark portfolio and the Radagast Carnivore Tagline, as well

as its trade secrets and the valuable recipes for its popular raw cat foods.

               40.     On May 3, 2019, Radagast was close to completing a sale of its assets

when it informed the buyer that its product slogan was being infringed. The buyer then decided

against the transaction. Radagast is concerned that Whitebridge and Frontenac’s infringement

and interference with its business may make an asset sale impossible.




COMPLAINT FOR TRADEMARK INFRINGEMENT AND BREACH OF CONTRACT - 9


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                                 FIRST CLAIM FOR RELIEF

       (Federal Trademark Infringement – 15 USC § 1114(1)) (Against Whitebridge)

               41.     Whitebridge’s use in commerce of the First Whitebridge Carnivore Slogan

and Second Whitebridge Carnivore Slogan is likely to cause confusion, mistake, and deception

as to the affiliation, connection or association of Radagast and Whitebridge, and their respective

products, in violation of 15 U.S.C. § 1114.

               42.     As a direct and proximate result of the acts and omissions of Whitebridge

alleged in this Complaint, Radagast has suffered and will continue to suffer damage to its

business, reputation, and goodwill, and other damages, in an amount to be proven at trial.

               43.     The wrongful acts and omissions of Whitebridge have caused and, unless

restrained and enjoined by this Court, will continue to cause, serious irreparable injury and

damage to Radagast and to the goodwill associated with the Radagast Carnivore Mark, and to the

overall value of Radagast’s intellectual property portfolio and other assets. These tortious acts

have caused and will continue to cause injury to the public as well, for which Radagast has no

adequate remedy at law. Radagast is therefore entitled to injunctive relief as set forth herein.

               44.     Whitebridge had both actual and constructive knowledge of Radagast’s

rights in its federally registered Radagast Carnivore Mark prior to Whitebridge’s infringing use

of the First Whitebridge Carnivore Slogan and Second Whitebridge Slogan.

               45.     Whitebridge has committed the wrongful acts and omissions willfully, and

under the circumstances of this case, the Court should award a multiplier of damages of up to

three times under Section 35 of the Lanham Act. On information and belief, based on the facts

to be proven, this will also be an exceptional case under Section 35 of the Lanham Act, thereby

entitling Radagast to its reasonable attorney fees.

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                                SECOND CLAIM FOR RELIEF

          (False Designation of Origin – 15 USC § 1125(a)) (Against Whitebridge)

               46.     Radagast realleges and incorporates by reference the allegations of the

foregoing paragraphs as though fully set forth herein.

               47.     The above-described use by Whitebridge of the Radagast Carnivore Mark

is a false designation of origin as to the products made available by Whitebridge in interstate

commerce. By virtue of Whitebridge’s use of the Radagast Carnivore Mark, consumers who use

or learn of the services or goods of Whitebridge have likely mistakenly believed, and will

continue to mistakenly believe, that the goods associated with Whitebridge originate with, are

sponsored by, or are affiliated with Radagast.

               48.     The adoption and use by Whitebridge of a slogan confusingly similar to

the Radagast Carnivore Mark, the continuation of such use, and all of the other acts and

omissions of Whitebridge have created confusion and the likelihood that the public will be

further confused as to the true source, sponsorship, or affiliation of the goods of Whitebridge.

As a result, Radagast and the public have been damaged, and unless Whitebridge is enjoined,

will continue to be irreparably damaged further, as hereinabove alleged.

               49.     Whitebridge committed the wrongful acts and omissions willfully, and

under the circumstances of this case, the Court should award a multiplier of damages of up to

three times under Section 35 of the Lanham Act. On information and belief, based on the facts

to be proven, this will also be an exceptional case under Section 35 of the Lanham Act, thereby

entitling Radagast to its reasonable attorney fees.




COMPLAINT FOR TRADEMARK INFRINGEMENT AND BREACH OF CONTRACT - 11


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                                 THIRD CLAIM FOR RELIEF

            (Breach of Contract - Written) (Against Whitebridge and Frontenac)

               50.     Radagast realleges and incorporates by reference the allegations of the

foregoing paragraphs as though fully set forth herein.

               51.     Under the NDA, Whitebridge and Frontenac had duties to (1) use

Radagast confidential information only for the purpose of evaluating the Transaction with

Radagast; (2) cease all use of confidential information—for any purpose—upon Radagast’s

request; and (3) return all materials containing Radagast confidential information, keeping no

copy for itself. Whitebridge and Frontenac materially breached these duties by using Radagast

confidential information to reach out to Radagast’s former banker, seeking to leverage a sale of

Radagast’s assets and evidencing that Whitebridge and Frontenac have retained Radagast

confidential information despite Radagast’s request that all information be returned.

               52.     All conditions precedent have occurred, been performed, or are otherwise

satisfied, discharged, or excused.

               53.     As a result of Whitebridge and Frontenac’s breach of contract, the full

extent of which is currently unknown, Radagast has been damaged in an amount to be proven at

trial.

                                       PRAYER FOR RELIEF

               WHEREFORE, Radagast respectfully requests the following relief:

               A.      A judgment in favor of Radagast requiring Whitebridge and Frontenac to

account for and pay to Radagast all profits wrongfully derived by Whitebridge through its

unlawful acts set forth herein and awarding Radagast’s actual damages and/or a reasonable

royalty, and enhanced profits and damages;

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                B.      An order that Whitebridge and Frontenac, their agents, directors, officers,

servants, employees, successors and assigns, and any entity owned or controlled in whole or in part

by Whitebridge, Frontenac, or by any agent, director, officer, servant, or employee of Whitebridge

or Frontenac, and all those persons in active concert or participation with all or any of the foregoing,

who receive notice of this judgment, directly or otherwise, be permanently restrained and enjoined

from:

            1. using the Radagast Carnivore Mark or any other copy, reproduction, colorable

                imitation, simulation of the Radagast Carnivore Mark, or a confusingly similar

                mark, including but not limited to the First Whitebridge Carnivore Slogan and the

                Second Whitebridge Carnivore Slogan, on or in connection with the pet food

                market;

            2. using any trademark, service mark, name, logo, design, or source designation of

                any kind on or in connection with Whitebridge’s goods or services that is a copy,

                reproduction, colorable imitation, or simulation of, or confusingly similar to the

                trademarks, service marks, names, or logos of Radagast;

            3. using any trademark, service mark, name, logo, design, or source designation of

                any kind on or in connection with Whitebridge’s goods or services that is likely to

                cause confusion, mistake, deception, or public misunderstanding that such goods

                or services are produced or provided by Radagast, are sponsored or authorized by

                Radagast, or are in any way connected or related to Radagast; and

            4. using, disclosing, or retaining any Radagast confidential information.

                C.      Pursuant to Section 36 of the Lanham Act, 15 USC § 1118, an order

directing Whitebridge to deliver up for destruction all infringing labels, signs, prints, packages,

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wrappers, receptacles, advertisements, invoices, mailers, flyers, promotional items, business

cards, stationary, and/or other materials in its possession or custody and control which are within

the United States, its territories and possessions, that display the First Whitebridge Carnivore

Slogan or the Second Whitebridge Carnivore Slogan;

               D.      To the extent Whitebridge and/or Frontenac have developed—directly or

indirectly—any cat food products with the benefit of Radagast confidential information, an order

directing Whitebridge and Frontenac to immediately and permanently cease development,

production and/or sale of any such product.

               E.      An award to Radagast of its costs (including expert fees), disbursements,

and reasonable attorney fees incurred in this action, together with interest, including prejudgment

interest, pursuant to 15 USC § 1117 and the equity powers of this Court; and

               F.      Such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Radagast hereby demands a trial by jury on all issues so triable.



               Dated May 9, 2019.

                                                     IDEALEGAL



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                                                     Phone: (503) 902-5760

                                                     Attorneys for Plaintiff Radagast Pet Food, Inc.




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                                 NONDISCLOSURE AGREEMENT
                                                 between
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Radag11at Pet Food, Inc. ('"Radagasf')                             �« t e.{ � ... h.-<        ("Recipient")
3617 S.E.17.. Avenue                                                   t-cseu«
Portland, Oregon 97202                                and            � ""."'U-=;...;����'2.::::......---
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                                                            C�wie,e

Purpose of dl.clo.ure: Evaluating possible business transaction.
Radagast is willing to disclose confidential                agreement by a Recipient employee will be
information to Recipient for the purpose stated             deemed a breach by Recipient.
above, but only on the conditions stated in this
a�reement.     In order to protect information              4. Recipient will not use or disclose
disclosed by Radagast to Recipient, the parties
intending to be legally bound, agree that:      '           Confidential Information, except for the purpose
                                                            stated above and as permitted by this
1. Recipient will keep confidential any                     agreement. Recipient will not reverse engineer
nonpublic information received from Radagast or             Confidential     Information   or     incorporate
otherwise acquired during any tours of                      Confidential Information in any products that
Radagast's facilities ("Confidential Information"}.         Recipient manufactures or sells, or will in the
Confidential Information may be written, oral, in           future manufacture or sell.
any tangible form or electronic, embodied in or
derived from product samples, or in other forms.            5. At Radagast's request, Recipient will (i)
Confidential Information includes the terms and             cease all use of Confidential Information; (ii)
existence of this agreement and the fact that the           return all materials fumished by Radagast that
parties are discusSing a possible business                  contain Confidential Information; and (iii) destroy
transaction. Any Radagast information provided              or deliver to Radagast (as instructed by
to Recipient is presumed to be Confidential                 Radagast) any electronic records or other
Information    unless otherwise        stated   by          materials containing    Confidential   Information,
Radagast or this agreement.                                 including materials prepared by Recipient. Upon
                                                            request, Recipient will state in writing under oath
2. Recipient       will   protect    Confidential           whether it has complied with this section.
Information from disclosure by using reasonable
care and at least the same care Recipient uses              6. This agreement will remain in effect as long
to protect its own confidential information                 as Recipient knows or possesses Confidential
Recipient will immediately notify Radagast upon             Information, but will not apply to Confidential
discovery of any loss or unauthorized disclosure            Information that:      (a) is or becomes publicly
of Confidential Information.                                available through no fault of Recipient; or (b) is
                                                            or has been received in good faith by Recipient
3. Recipient      may    disclose   Confidential            without restriction on use or disclosure from a
Information to its employees who need to know               third party having no obligation of confidentiality
Confidential Information for the purpose stated             to Radagast; or (c) is or has been independently
above and who are required by Recipient to                  developed by Recipient without reference to
comply with the restrictions imposed on                     Confidential      Information     received   from
Recipient by this agreement. A breach of this




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Radagast, as evidenced by Recipient's written            agreement must be in writing and executed by
records                                                  both parties.

7. Recipient acknowledges that Confidential              13. Any provision of this agreement that is held
Information and any intellectual property rights         invalid will be modified as necessary to render it
embodied therein are owned by Radagast or its            valid and enforceable. If any provision of this
licensors, and that nothing in this agreement is         agreement is held invalid and cannot be
intended to be a transfer. assignment. or                modified to render it valid and enforceable, the
license.                                                 invalidity will not affect other obligations,
                                                         provisions, or applications of this agreement that
8. If Recipient is required by judicial or               can be given effect without the invalid
administrative process to disclose Confidential          provisions.
Information, Recipient will promptly notify
Radagast and allow Radagast a reasonable time            14. Radagast's failure to demand strict
to oppose such process.            If disclOsure is      performance of any provision of this agreement
nonetheless required, Recipient will use its best        will not constitute a waiver of any provision of
efforts to limit the dissemination of Confidential       this agreement or the right to demand strict
Information that is disclosed and will furnish only      performance in the future.
that portion of the Confidential Information that
is legally required (in the opinion of its counsel).     15. This agreement may be executed in
                                                         counterparts. Fax or electronic transmission of
9. The fact that        portions of Confidential         a signed original document will be equivalent to
Information may be publicly available or                 delivery of an original.
otherwise not subject to this agreement will not
affect Recipient's obligations with respect to the       Effective Date: March 2, 2015.
remaining portion or with respect to the
particular formulation or compilation disclosed
by Radagast.                                             Radagaat Pet Food, Inc.
                                                           l       �                  ,l    n C ·               , .
10. Radagast does not guarantee the accuracy               ;")<)Md� ::?:,       Vl\   t:\cO--t.X\ - � '7
or completeness of information disclosed to
Recipient. This agreement does not require
                                                         Authorized Signature                         (   c�Y u
Radagast to disclose specific information,               _JAJ-....>IC.L     MHA-,c..       ti -   K13,:<,   I
require either party to enter into any business           Name
relationship, or create any agency or partnership
between the parties.                                       -Pee. .s � & Q,. v'--fs:
                                                         Title
11. Recipient      acknowledges        that   money
damages would not be a sufficient remedy for                                                                          L. P..
breach of this agreement by Recipient. In the
event of a breach of this agreement, Radagast
will be entitted to injunctive relief without posting
bond, in addition to any other available
remedies.      In any litigation concerning this
agreement, the prevailing party will be entitted to
recover all reasonable expenses of litigation,
including reasonable attorney fees at trial and on
any appeal.

12. This agreement will be governed by Oregon
law, without regard to principles of conflicts of
law. Any litigation relating to this agreement will
be tried in state or federal courts in Portland,
Oregon. Each party submits to the jurisdiction of
such courts, and waives any right to change
venue. All additions or modifications to this


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                                 NONDISCLOSURE AGREEMENT
                                          between

Radagast Pet Food, Inc. ("Radagast")
                                                                         Olivier Amiee
                                                                       ____________ ("Recipient")
3617 S.E. 1ih Avenue
Portland, Oregon 97202                                      and

Purpose of disclosure: Evaluating possible business transaction.
Radagast is willing to disclose confidential                           agreement by a Recipient employee will be
information to Recipient for the purpose stated                        deemed a breach by Recipient.
above, but only on the conditions stated in this
agreement.     In order to protect information                         4. Recipient will      not use      or disclose
�isclosed by Radagast to Recipient, the parties,                       Confidential Information, except for the purpose
intending to be legally bound, agree that:
                                                                       stated above and as permitted by this
1. Recipient     will   keep   confidential    any                     agreement. Recipient will not reverse engineer
nonpublic information received from Radagast or                        Confidential     Information   or     incorporate
otherwise acquired during any tours of                                 Confidential Information in any products that
Radagast's facilities ("Confidential Information").                    Recipient manufactures or sells, or will in the
Confidential Information may be written, oral, in                      future manufacture or sell.
any tangible form or electronic, embodied in or
derived from product samples, or in other forms.                       5. At Radagast's request, Recipient will (i)
Confidential Information includes the terms and                        cease all use of Confidential Information; (ii)
existence of this agreement and the fact that the                      return all materials furnished by Radagast that
parties are discussing a possible business                             contain Confidential Information; and (iii) destroy
transaction. Any Radagast information provided                         or deliver to Radagast (as instructed by
to Recipient is presumed to be Confidential                            Radagast) any electronic records or other
Information   unless   otherwise      stated           by              materials containing Confidential Information,
Radagast or this agreement.                                            including materials prepared by Recipient. Upon
                                                                       request, Recipient will state in writing under oath
2.   Recipient     will    protect   Confidential                      whether it has complied with this section.
Information from disclosure by using reasonable
care and at least the same care Recipient uses                         6. This agreement will remain in effect as long
to protect its own confidential information.                           as Recipient knows or possesses Confidential
Recipient will immediately notify Radagast upon                        Information, but will not apply to Confidential
discovery of any loss or unauthorized disclosure                       Information that:      (a) is or becomes publicly
of Confidential Information.                                           available through no fault of Recipient; or (b) is
                                                                       or has been received in good faith by Recipient
3. Recipient      may    disclose   Confidential                       without restriction on use or disclosure from a
Information to its employees who need to know                          third party having no obligation of confidentiality
Confidential Information for the purpose stated                        to Radagast; or (c) is or has been independently
above and who are required by Recipient to                             developed by Recipient without reference to
comply with the restrictions imposed on                                Confidential      Information     received   from
Recipient by this agreement. A breach of this




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Radagast, as evidenced by Recipient's written            agreement must be in writing and executed by
records.                                                 both parties.

7. Recipient acknowledges that Confidential              13. Any provision of this agreement that is held
 Information and any intellectual property rights        invalid will be modified as necessary to render it
embodied therein are owned by Radagast or its            valid and enforceable. If any provision of this
licensors, and that nothing in this agreement is         agreement is held invalid and cannot be
intended to be a transfer, assignment, or                modified to render it valid and enforceable, the
license.                                                 invalidity will not affect other obligations,
                                                         provisions, or applications of this agreement that
8. If Recipient is required by judicial or               can be given effect without the invalid
administrative process to disclose Confidential          provisions.
Information, Recipient will promptly notify
Radagast and allow Radagast a reasonable time            14. Radagast's     failure  to   demand     strict
to oppose such process.            If disclosure is      performance of any provision of this agreement
nonetheless required, Recipient will use its best        will not constitute a waiver of any provision of
efforts to limit the dissemination of Confidential       this agreement or the right to demand strict
Information that is disclosed and will furnish only      performance in the future.
that portion of the Confidential Information that
is legally required (in the opinion of its counsel).     15. This agreement may be executed in
                                                         counterparts. Fax or electronic transmission of
9.   The fact that portions of Confidential              a signed original document will be equivalent to
Information may be publicly available or                 delivery of an original.
otherwise not subject to this agreement will not
affect Recipient's obligations with respect to the         Effective Date: March 2, 2015.
remaining portion or with respect to the
particular formulation or compilation disclosed
by Radagast.                                               Radagast Pet Food, Inc.

10. Radagast does not guarantee the accuracy
or completeness of information disclosed to
                                                        Auth�fS�gna�
                                                                                     �\,J�Q,- �
Recipient. This agreement does not require
Radagast to disclose specific information,              ..),A ,-. _) "\ c_ 'L   0A ,-\ A\ L \-\ -    �\ -c..
                                                                                                           :c.
require either party to enter into any business          Name
relationship, or create any agency or partnership
between the parties.
                                                         Title
11. Recipient      acknowledges        that   money
damages would not be a sufficient remedy for
breach of this agreement by Recipient. In the
event of a breach of this agreement, Radagast
will be entitled to injunctive relief without posting
                                                         Autbofized Sigllature
bond, in addition to any other available                     u rvier Arruce
remedies.       In any litigation concerning this
agreement, the prevailing party will be entitled to        Name
recover all reasonable expenses of litigation,
including reasonable attorney fees at trial and on           CEO
any appeal.                                              Title
12. This agreement will be governed by Oregon
law, without regard to principles of conflicts of
law. Any litigation relating to this agreement will
be tried in state or federal courts in Portland,
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such courts, and waives any right to change
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